10/16/24, 6:05 PM    Case 3:24-mc-80266-JCSCM/ECF
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                                                                                  District of New Jersey


    09/23/2024            81 TEXT ORDER: The Court is in receipt of the parties' September 20, 2024 joint letter,
                             [D.E. 80]. There shall be an in-person status conference on October 1, 2024 at 12:00
                             p.m. Defendant Danis must appear in person for the conference. The purpose of the
                             conference will be: (1) to further inquire of Defendant Danis his efforts to search for the
                             cellular telephone and the circumstances of his disposition of the cellular telephone
                             (without prejudice to Plaintiff's right to depose Defendant Danis in more detail on these
                             issues), and (2) to address Mr. Berman's motion to withdraw. So Ordered by Magistrate
                             Judge Michael A. Hammer on 9/23/24. (tad) (Entered: 09/23/2024)




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